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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

TANYA GILL,

Plaintiff,

VS. Case No. 12-CV-2363

VILLAGE OF MELROSE PARK, a
Municipal Corporation, et al.,

)
)
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Defendants.

Deposition of TANYA GILL called as a witness
herein, pursuant to the applicable provisions of the
Federal Rules of Civil Procedure for the State of
Illinois, before Belinda A. Harr, CSR No. 84-003215,
taken on October 8, 2012, at 10:00 a.m. at 333 W.

Plerce Road, Itasca, Illinois.

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A. Prior to the Chicago address.

Q. Okay. For how long?

A. For three years.

Q. So you were living in Calumet City on
April 4th of 2011?

A. Yes.

Q. April 2nd, 2011, I should say. Is that
correct?

A. Yes.

QO. Did you live there with anybody else at
that time?

A. No.

Q. What is the highest level of education
you've completed?

A. College.

Q. And where did you complete college?

A. Tllinois State. Weil, no. How about I
had some college --

Q. Oh, okay.

A. -- at Tllinois State University, and then

Chubb Institute was where I completed it.
QO. Okay. I'm sorry. What's that --

A. Chubb Institute.

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alone though.

Q. Okay. The colleagues that you were with
at the game, did they come with you to the iBar
ariterwards?

A. No.

QO. While you were at the Bulls game, did you
have any alcoholic drinks?

A. Yes.

Q. How many alcoholic drinks?

A. Two glasses of red wine.

Q. Apart from going to the Bulls game did
you do anything else like go to dinner with the
colleagues or with anybody else?

A. No.

Q. Did you go to the iBar straight after the
Bulis game?

A. No.

Q. Where did you go after the Bulls game?

A. Home.

Q. And how long were you at home?

A, Maybe an hour and a half, or so.

Q. And when you left your home, where did
you go?

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A. To the iBar.
Q. Do you, approximately, remember what time
that was? Or strike that. Do you remember

approximately what time that was that you went to the

iBar?

A. What time I arrived at the iBar?

QO. Sure.

A. About ~~ arriving there, about 11:25, or
So.

Q. When you went to the iBar from your home,

did you go with anybody?

A. Tanya Frizell.

QO. Now, while you were at -- the
approximately hour and a half you were at home, did you
have any alcoholic beverages?

A. No.

Q. Was Ms. Frizell with you while you were

at home for that hour and a half?

A. No,

QO. Was she there for a portion of the time?
A. Yes.

QO. Did she come just so that the two of you

could go to the iBar together?

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QO. Wnat was the first thing that happened
when you got to the iBar on April 2nd?

A. My purse was searched at the door.

Q. Okay. How about once you got inside?

A. We had to show our ID and pay.

Q. Okay. There was a cover charge?

A. Yes.

Q. And then did you go to the bar?

A. We went in and went to the bar, yes.

Q. Okay. Did you order a drink?

A. Yes.

QO. When you say we, is that you and
Ms. Frizell?

A. Yes,

Q. Okay. Did you and Ms. Frizelli order a
drink?

A. She ordered her own drink. I ordered
mine.

Q. Okay. What happened after you ordered

the drinks?
A. We were talking.
Q. Okay. Were you sitting at the bar or

were you standing?

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A.

Q.

Standing.
Were you standing near the bar?
Yes.

Were you and Ms. Frizell talking or were

you talking to somebody else?

A.

Q.

A.

Q.

Me and Frizell was talking.
Did you eventually get your drink?
Yes,

After you got your drink did you continue

to stand near the bar?

A.
Q.
allegation,
A.
QO.

time?

Yes.

At any point prior to the assault
were you sitting at the bar?

No.

Okay. So you remained standing the whole

Yes.

What about Ms. Frizell; was she standing

with you the whole time?

No, she was sitting.
Was she sitting up against the bar?
Yes.

Okay. Now, at some point you allege that

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forth. I just -- she just turned around and punched
me.

QO. This may sound a bit weird. I know you

just said that you saw lights, but before that did you
see her coming at you?

A. No.

Q. So you don't know if this woman stood up
from her stool or anything like that --

A. No,

Q. -- before punching you? You're a pretty

tall woman; is that correct?

A. Yes.

QO. How tall are you?

A. Six feet.

Q. What happened after you saw the stars?

Did you fall to the ground or --

A. No.
Q. ~~ did you --
A. IT staggered back. And Frizell came in

between us.
Q. Do you recall this other patron saying
anything to you when she punched you?

A. No.

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QO.

Did she say anything to you immediately

after punching you?

A.

Q.

Not immediately after punching me.

Okay. Did she say anything to you

sometime after punching you?

A.
Q.
A.
said that
Q.
question.
A.

Q.

Yes.
What did she say?

That she was sorry. Only after Frizell

she was calling the police.

Okay. That was going to be my next

Okay.

So Ms. Frizell came in between the two of

you, correct?

Yes.

And did she say anything to this other

Yes.

And what did she say?

Bitch, I'm calling the police.
Did Ms. Frizell call the police?
Yes.

She used her cell phone?

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A. A couple of minutes.
Q. And did they come inside the iBar?
A. When I saw the flashing lights, Frizell

told me to go outside and meet the police, that she was
going to stay there to make sure that she wouldn't
leave, the other lady. So I went out to go get the
police, and as J was going out they were coming in, and
I was telling them that I had just been hit by a woman,
and the officer told me to step outside.

Q. As you were walking out you said police
were coming in?

A. Yes.

Q. Do you recall, approximately, how many
officers were walking in?

A. I believe there were two.

QO. And it was one of those officers that
asked you to come outside?

A. Yes.

Q. Do you know the names of either of those
officers?

A. No.

Q. Okay. Can you try to visually describe

what the two officers looked like that you had met at

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1 the door?
2 A. No.
3 Q. The officer that's sitting here with us
4 today, does he look familiar as one of those two
5 officers?
6 A. One of the two officers that initially
7 came in? No
g QO. Okay. Okay. And when the officers asked
9 you to come outside, did you come outside?
10 A. Yes.
di Q. Ana where -- strike that. Did you come
12 just outside of the door of the iBar?
13 A. No.
14 Q. Okay. Where did you go?
15 A. There was -- right outside the door there
16 was a waikway, and it ended and made a turn at the end
17 of the building. SO we were on the walkway but at the
18 end of the building.
19 QO. And you were with these two police
20 officers?
22 A. By this time there was more than two.
22 Q. Okay. Approximately, Aow many additional
23 officers came on the scene apart from these two?
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A. IT think four additional.

Q. When you came out to speak with the
officers, did Ms. Frizell come out as well?

A. Yes.

Q. Okay. Did anyone else come out with the
two of you?

A. She came out with the ~- she came out
ahead of the lady and her companion.

Q. Okay. So Ms. Frizell walked out with the
patron who had hit you and her friend?

A. Yes.

QO. Okay. And did she come out with you or

sometime after you?

A. Seconds after me.
oO. Did Mr. Dixon come out as well?
A. He came out right after like with us --

like all this happened in a matter of minutes, so it's

like seconds apart. So no time. Seconds.

QO. I'm just trying to --

A. Okay.

Q. -- set the scene. T'm not trying to
confuse you or -- you know, I'm just trying to set the

scene so that we can tell what happened.

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A. Okay.
Q. So just seconds after you walked out
Ms. Frizell walked out with the patron of the bar who

had hit you and her companion, correct?

A. And Dixon.

oO. And then Mr. Dixon also came out?

A. Uh-huh.

QO. Yes?

A. Yes.

OD. Did Mr. Allen ever step outside of the
iBar?

A. No.

Q. And Ms. Frizell and Mr. Dixon, did they

Walk over --

A. Yes.

Q. -~ to where you were standing with the
police officers?

A. Yes.

MR. HUNDLEY: het her finish.
BY MS. RURKAVINA:

QO. Apart from you, Ms. Frizell, Mr. Dixon,
the patron who hit you, her companion, and the police

officers, were there other people outside of the iBar

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1 at that time?
2 A. Yes.
3 Q. Did you recognize any of those people?
4 A. No.
5 Q. As you sit here today do you have any
6 knowledge of who those people are?
7 A. No.
a Q. Did you have any conversation with any
9 one of the officers that arrived at the scene?
19 A. Yes.
Li Q. Okay. Did you have a conversation with
12 one officer or more than one?
13 A. More than one.
14 Q. Tell me ~- the first officer that you
15 spoke with, would you be able to describe what he looks
16 Like?
17 A. The first one was one of the officers
18 that initially came in, but that's not the officer that
19 was asking me the questions.
20 QO. Okay. The conversation that you had with
21 one of the two original officers that came, what
22 conversation did you have with him?
23 A. Just for them to tell me to come outside.
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A. He was about 5'5”" or 5S'6". I'm not sure
because I had on heels that night. So his height I'm

not sure about, but he was a lot shorter than me.

Q. Okay.
A. And --
Q. I don't mean to interrupt you.

Approximately how high were your heels that night?
A. About three inches.
oO. Okay. And was he white,

African~American, hispanic?

A. White.

Q. Do you recall anything about the way he
looked?

A. Yes. He had a buzz cut and like dark

features like eyes and stuff like that.

Q. Was he wearing glasses or anything like
that?

A. No.

Q. The officer that's sitting here with us

today, does that look like the officer that was asking
you the questions?
A. They resemble each other. I'm not sure

if it's him or not, but they have like the same facial

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structures, the dark eyes, but the guy had more of a

buzz -- it was short, but it was kind of a buzz cut.
Q. Could you tell the color of the hair?
A. It was dark.
Q. Okay. And this officer that was asking

you the questions, apart from the initial conversation
you told us with the two officers, was this the officer

that you mainly spoke with --

A. Yes.

Q. -- outside the iBar?

A. Yes.

Q. Did any other officers ask you questions?
A. They were kind of all throwing out

questions, but this officer was the closest to me.

Q. Okay.
A. And Frizell was kind of talking, and then
there were some other officers talking and -- but this

particular officer was directing his conversation to
me.

QO. So there was --

A. But they were asking questions, but he
was more so directing his questions to me.

Q. Would it be fair to say there was a bit

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of a commotion outside with --
A. Absolutely.
oO. -- Ms. Frizell talking and the officers
talking?
A. Absolutely.
QO. And from what I had asked you earlier,

you said that Ms. Frizell was emotional and agitated--

A. Yes.

Q. ~"w in your complaint. What do you mean
by that?

A. Her reaction to what was going on. She

was very loud and just in disbelief, and she was
externally showing that, just couldn't believe just
what happened. So she was very loud in that aspect.

Q. Was she showing that to the police
officers --

A. Absolutely.

QO. ~~ Ehat were there? Do you recall
specifically hearing her say anything to the police
officers?

A. Yes.

Q. Okay. What was she saying to the police

officers?

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A. She was trying to tell them what happened
and that I got punched in the face and that we oniy had
been in there 10 or 15 minutes, ordered our drink, and
I got punched in the face by the woman that was
standing there.

QO. At this point when Ms. Frizell was
telling the officers that, was that other patron with

her as well?

A. They --

Q. The one who punched you.

A. They were not together, no.

Q. Okay.

A. She was outside, yes.

Q. Okay. Did you hear that other patron

speaking with the police officers at all?

A. She was telling an officer that she told

me that she was sorry.

QO. Did you hear her say anything else?
A. No, she just ~- she was standing there
saying I told her I was sorry. I told her I was sorry.

She just kept saying that over and over.
QO. Is this when you noticed that she was

intoxicated --

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q A. Yes.
2 Q. -- and could barely stand?
3 A. Yes.
4 QO. Apart from telling the officer over and
5 over that she was sorry and that she told you she was
6 sorry, did you hear her say anything else?
7 A. No.
8 Q. What about her companion? Did you hear
9 him say anything to the officers?
10 A. No.
11 Q. Okay. So you told us that one officer
12 directed his questions to you while this commotion was
13 going on, correct?
14 A. Yes.
15 Q. Okay. And did you answer his questions?
16 A. Yes.
1? QO. Okay. When you were answering his
18 questions, were you emotional or agitated at all?
19 A. Not at all.
20 Q. Did you answer the questions calmly?
21 A. Yes.
22 Q. To the best of your ability, can you tell
23 me what questions were posed to you and your responses?
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1 A. He -- when Frizell initially came out,

2 she was trying to tell them what happened and pointed

3 out the lady who had hit me, and at that time Frizell

4 was doing a lot of the talking; and I was just standing

5 there, and they told her to shut the fuck up and let me

6 speak.

7 Q. And who said that?

g A. One of the officers but --

9 Q. Do you know which officer?

10 A. No, but it was probably one of the

11 officers that initially came in just by where he was
12 standing. And so I told Frizeli to calm down, be

13 guiet, and let me tell them what happened. Then I went

14 to tell the officers what happened, and the officer
15 closest to me asked me did I -- do IT know her, and I
16 said, ne, I've never seen her before. You never had
1? any interaction with her? You ali didn't get into it?
18 You don't know her from anywhere? No, no, no. Tell me

19 what happened again. So ~I told him what happened. So

20 then he asked me again, tell me -- okay, tell me --
an tell me again what happened.
22 Q. The first time he asked you to tell him

23 what happened what did you tell him?

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1 QO. And it was the same thing that you told
2 us here today?
3 A. Yes.
4 Q. Okay. And then what happened after you
5 told him again what happened?
6 A. So after about, IT don't know, three or
4 four times maybe of him asking me to tell him he was
8 like, well, snow me what happened.
9 Q. And while you were talking to this
16 officer, was the commotion around still going on?
il A. Yes.
12 oO. Lots of talking?
13 A. Yes. Frizell was stiil talking. Kevin
14 Was saying some stuff. The woman was still saying she
15 was sorry. And then he's asking me questions too.
16 Q. Was Ms. Frizell still emotional anda
17 agitated?
28 A. Yes.
19 QO. Did the other -- the patron that hit you,
20 did she seem emotional and agitated as weil?
21 A. No.
22 Q. How did she seem? Just apologetic?
23 A Yeah, and very intoxicated.
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Q. So you said that the officer told you to
show him what happened?

A. Yes.

Q. And what did you take that to me?

A. To show him how she pushed me. To show
him -~- to show him what happened.

Oo. So you took that to mean to show him on
his person how the woman pushed you?

A. No, I did not take it like that.

Q. Okay. So you took it just to --

A. Describe.

QO. -- show him -- okay.

A. Physically show what happened.

oO. Okay. And did you do --

A. Not on him, but, yeah.

Q. Okay. And did you do that?

A. Yes.

Q. Okay. And how did you show him what had
happened?

A. E told him where I was standing and, of

course, I'm using my hands at this time because I know
the difference between show and tell. So I was

standing there, and I showed him how I was standing in

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the aisle and when people would come by that I would

lean forward and they would walk behind me. This
particular lady, she came -- because I didn't know --
there were two empty stools there. I didn't know who

they belonged to, but they were clearly someone's

because they had jackets on them. So I knew not to sit
there, The seat that Frizell was sitting on was empty.
Se IJ stood. And, of course, as a courtesy I always let

people go behind and not in between the person I'm
talking to. So I would come in to Frizell. So I was
showing the officer I would come in, and I was like the
woman came, and when I went to go in, she pushed me,
but when I was talking to the officer, he was on this
side of me. So I had did like this (indicating). I
was like when she came to come in between us, she
pushed me like this, and when I did my arm like this,
he took my arm, put it behind -- twisted it, put it
behind my back, pushed my elbow into my back, and
forced me over to @ car.

Q. Did your arm make contact with the
officer at ali?

A. Yes.

Q. So when you were using your arm to show

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him how she -- this patron pushed you, your arm made
contact with the officer?

A. Yes.
QO. Where on his body did your arm make

contact?

A.

Q.

A.

Q.

left arm

A.

Q.

Probably his chest.

And this was the shorter officer, --

Yes.

-- correct? And so you were using your
to show him?

Yes.

And what part of your left arm made

contact with His chest?

A.

Q.

Probably my forearm here.

And then you said that when your arm made

contact the officer took your wrist; is that correct?

A.

QO.

A.

of way,

Q.

Yes.

Your left wrist?

He grabbed my wrist, twisted it, --

How did he twist it?

{Indicating). Twisted my wrist some type
and it was really fast.

You wouldn't be able to tell me in which

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way he twisted it?

MR. HUNDLEY: I just object that it's vague.
Do you mean what direction?

MS. RUKAVINA: Well, yeah, in what manner?

MR. HUNDLEY: Degree?

MS. ROUKAVINA: bid he twist it side to side?
Did he --
BY THE WITNESS:

A. No, in a circular.
BY MS. RUKAVINA:

Qo. Okay. So he twisted it circularly?

A. Uh-huh.

Q. And was this just your wrist or did he
twist your whole arm?

A. He grabbed me by my wrist to twist.

Q. Okay. And as he was doing that did he

pull your arm behind you?
A. Absolutely.
QO. Okay. And this was your left arm,

correct?

A. Yes.
Q. And as he was doing this did he say
anything?

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A. No. He didn't say anything until we got
over to the car.

QO. So after he pulled your left arm behind
you what —--

A, And forced my elbow up in an upward
thrust or -- I don't know how to describe it.

Q. Approximately, how high did he force your
elbow up?

A. Up to the middle of my back.

Q. To the middle of your back. And you said
this happened in a matter of seconds?

A. Yes.

Q. It was a quick movement?

A. Yes.

QO. And when he forced your elbow upward, he
put you over a car?

A. Yes.

QO. Did you have to walk over to the car or--

A. No.

Q. -- were you at the car?

A. He forced me over to the car.

Q. So he forced you to walk over to the car?

A. Yeah, and I went because the more -- I

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1 knew to go because he was constantly pushing up on the
2 elbow and twisting the wrist at the same time.
3 Q. And, approximately, how many steps did
4 you take to get to the car?
5 A. Maybe six or seven.
6 QO. And while he was forcing you to the car,
7 did he say anything to you?
8 A. Yes
9 QO. What did he say to you?
10 A. What the fuck is your problem. Don't you
i1 ever put your hands on me.
12 QO. Did he say anything else?
13 A. I don't know. He was saying some other
14 stuff as he was trying te -- he was like -- had me like
15 trying to slam me into the car and don't you -- and he
16 just kept -- he said it twice like don't you ever
17 fucking put your hands on an officer or something to
1g that effect.
19 Q. Did you say something back to him?
20 A. IT was like you told me to show you what
21 happened.
22 QO. Now, you said that he tried to slam you
23 into the car?

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Q. Okay. And he wasn't saying anything to
you at that time?
A. Just what I told you.
QO. Okay. That whole incident from when he

took your wrist to when he put you up against the car
and while you were up against the car, that's the only

thing that he said to you?

A. At that time.
QO. Okay. Did you say anything to him other
than -- I believe what you said was, you told me to

show you?

A. Yes.

Q. Did you say anything else to him?

A. No.

Q. Okay. Did he eventually release you from

A. Yes.

Q. Approximately, how long were you on the
cax?

A. T'm not sure.

Cc. Would it have been a few seconds? Would

it have been a minute?

A. Seconds.

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QO. And during that time when you were on the

car, did the officer kick you?

A. No.

Q. Did he punch you?

A. No.

Q. Did he physically hurt you in any way

ether than the pressure he was appiying to the wrist
and your back?

A. Only to the wrist and elbow, yeah.

Q. Was he appiying any pressure directly to

your elbow or was 1 your wrist that was behind your

back?

A. Both the wrist and elbow.

QC. Okay. Did he have a second hand on your
elbow?

A. Yes.

Q. Okay. So one of his hands was on your

wrist and the other one was on the elbow?

A. Yes.

Q. Now, while you were up against the car,
were there other people around?

A. Yes.

Q. Okay. Was anybody saying anything to you

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1 A. No.

2 Oo. Approximately, how long after the officer

3 released you from the car did you leave the scene?

4 A. Seconds.

5 Q. So you did not go back inside the bar?

6 A. Ne.

7 Q. And did you go immediately to the police
8 station?

9 A. I went to my car, and Frizell was still
10 out there with the officers and everybody elise. I was
11 already in my vehicle and waiting for her to come so we
12 could go to the police station.

13 Q. How long did you wait in the vehicle for
14 her?

15 A. That had to be a few minutes.

16 Q. And once she came to the car did you go
17 to the police station then?

18 A. Yes.

19 Q. Did you know where police station was?

20 A. No.
21 Q. How did you find the police station?
22 A. Someone gave Frizell the address, and I
23 googled it.
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‘1 he came out, and one of the officers -- he asked one of
2 the officers what was going on, and the officer told

3 him she said she got hit. And he's like nothing

4 happened. Nothing happened in here. He went back in,
5 came back out, and said he talked to the barmaid and

6 someone else. He did say he spoke to two different

7 people, and they said, nothing happened, she didn't get
a hit. And the officer said to me, he said nothing

9 happened. They're saying nothing happened. By this

10 time the -- the patron came cut with the guy, and she's
ii standing there saying that she was sorry.

12 QO. What officer told you that the iBar owner
13 said nothing happened?

14 A. IT doen't know which one it was.

15 Q. Okay. It was not the one that was asking
16 you the questions -~

17 A. No.

i8 Q. -- that you were dealing with?

19 A. No. There was one closer to the door.

26 Q. And is there any way that you can tell me

21 physically what he looks like?
22 A. No.

23 Q. Did you hear any other conversation

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1 between the iBar owner and the police?
2 A. Yes.
3 Q. Okay. What else did you hear?
4 A. There was -- like I said, there was a lot
5 of commotion going on, and I wasn't saying much to
6 nothing at all because Frizell was trying to get them
7 to understand what was going on, and aside from the
8 owner someone else came back and forth out of the place

9 and kept saying they're saying nothing happened, nobody
10 saw anything, didn't anything happen, she didn't get

LL hit, they're saying she didn't get hit. So that's the

42 conversation from whoever this other guy was
13 communicating back with the owner saying that I didn't
14 get hit. He was trying to convince him and the

15 officers that I didn't get hit.

16 QO. So there was --

1? A. Nobody -~

i8 Q. “~~ another person that was trying to

19 convince the owner and the officers that you didn't get
20 hit?

21 A. With the owner. I guess the owner had

22 this guy come out here to confirm that I didn't get

23 hit.

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with the officer who was asking you questions?
A. Before.
Q. Okay. So this was all happening while
the officer was trying to ask you questions?
A. Correct.
Q. The officer that you were dealing with

directly, after you told him in response to what he was

telling you that he had asked you to show him what

happened, did you say anything else to him after that?
A. No, just the fact that you told me to

show you.

QO. Did you apologize to him?

A. No.

QO. This officer, did he ever place handcuffs
on you?

A. No.

Q. Did any officer at the scene place

handcuffs on you?

A. No.

Q. Okay. Apart from the conversations you
told us about between the owner and the police, the
female bouncer and the police, Ms. Frizell, and

Mr. Dixon, do you recall any other conversations that

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were happening at that time with any patrons and the
police?

A. No.

Q. Did you have any conversation directiy
with the owner of the iBar?

A. No.

Q. What about the bouncer? Did you speak
with her?

A. No.

QO. At anytime from tne time that the police
officer put your hand behind your back and put you up
against the car did you tell him that he was hurting
you?

A. No.

Q. When he released you from the car, did
you tell him that you were in pain or injured in any
way?

A. No.

Q. And then you told us that when you left

you went to the police station, correct?

A. Yes.
QO. And it was you and Ms. Frizell?
A. Yes.

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1 voicemail. You do not recall receiving this message on
2 May 25th of 2011?
3 A. No, =I don't recall.
4 QO. Again, I don't want to know any
5 conversation with your attorney, but had you sought out
6 your attorney as of May 17th of 2011 in this case? Do
? you know whether you were represented at that time?
g A. You said May what?
9 QO. May il7th of 2011.
10 A. I believe so.
12 Q. Okay. Do you -- strike that. Okay. I
12 don't have very much left. Zo yust wanted to go through
13 -- I know you mentioned that you have a copy of the
14 video from iBar. tT wanted to go through that video
15 with you. I apologize. This is on a computer, but it
16 does not go on in a DVD player so we'll have to just —-
1? there's no audio so there's nothing to be taken down.
18 And just for the record this is the
19 video from the outside of the iBar, and I'm going to
20 start it at 23:46 and zero seconds.
21 MR. HUNDLEY: Can you identify which camera it
22 is?
23 MS. RUKAVINA: This came from -- it's CHO5 000.

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MR. HUNDLEY: Yes, so camera five?

MS. RUKAVINA: That's my guess.

MR. HUNDLEY: Okay. And what was the time
stamp again? I'm sorry.

MS. RUKAVINA: Uh-huh. No, no problem. It's
23:46:00.

BY MS. RUKAVINA:

QO. I'm going to play a little part of it.
We'll try to see if we can identify some of the police
officers.

A. Okay.

Q. And then we'll go back. If you need me
to go back, we'll go back. I don't want to harp on it,
but we'll just see what we can find from the video. 50
I apologize. I’m about to turn my back on you guys.

And the reason that I put it to this
point, just to let you know, is this is the first time
I see the officers come to the door.

A. Okay.

Q. And tell me if you recall differently.
So this is the officer walking out, is that correct,
and he's motioning for someone else to come out. And

then it looks like three people -- two people come out

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with a third. That officer that we saw, was that one
of the first two that came on the scene, one of the
initial officers?

A. Yes.

Q. Okay. And that officer looks like he has
a bald head?

A. Yes.

Q. Okay. So that was one of the cfficers

that you encountered as you were trying to go outside?

A. Yes.

Q. Okay. De you see yourself here?

A. Yes.

Q. Are you the one in the tan top with the

short hair?

MR. HUNDLEY: I'm sorry. For the record you've
paused it. Can you give us the time?

MS. RUKAVINA: Oh, sure, yeah. I have paused
it 23:46:19. Sorry about that.
BY THE WITNESS:

A. It's the gray and black top with the
short hair.
BY MS. RUKAVINA:

Q. Okay. And is that black leggings?

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4 A. Yes.
2 Q. Okay. And then the woman to your left,
3 is that Ms. Frizell?
4 A. Yes.
5 QO. Okay. And then the gentleman behind you,
6 is that Mr. Dixon?
7 A. Yes.
8 Qo. Okay. The lady we see to the right,
9 she's got blond hair, is that the femaie bouncer?
10 A. Yes.
11 Q. Okay. So this point in time is this when
12 the officer asked you to step outside?
13 A. Yes.
14 Q. So we'll watch a little further. It
15 seems like there's some conversation between the
16 officer and Ms. Frizell, correct?
17 A. Yes.
18 QO. And the doors closed. And then one, two,
19 three, four people step out, five people step out.
20 A. That's the other officer that came.
24 QO. And I'm going to --
22 A. Pause it.
23 Q. I'm going to pause it at 23:46:43. So we
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just saw five officers step out of the iBar; is that
correct?

A. No.

QO. No? Okay. How many officers? Were

there other patrons and officers that stepped out?

A. That's -- that's not an officer.

Qo. Okay. Do you want me to back it up?

A. Yeah. They are not all officers.

Q. Sure. Let's take a look at how many
officers come out. Let's just go back a little bit.
Okay.

MR. HUNDLEY: And you're restarting at what
point?

MS. RUKAVINA: I'm restarting at 23:46:01.
THE WITNESS: That's the one officer.
BY MS. RUKAVINA:

Q. Right. And then you and Ms. Frizell and

A. Uh-huh.

Q. And so at this point there's only one
officer outside, correct?

A. Yes.

Q. Okay.

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A. That's not an officer.

QO. Okay.

A. That's not an officer.

Q. Okay. Those are just patrons?

A. That's an officer.

OQ. Okay.

A. That's not an officer. And I think
that's an officer.

Q. Okay. Yeah, let's pause it. Tt looks
like --

A. Yes.

QO. So two additional officers came out?

A. Yes. And as you can see --

Q. You walked back to the side of the
building as you had told us, right?

A. Correct.

Oo. With one of the initial officers?

A. Correct.

QO. Now, these two officers that we see, we
see one has a hat and one does not. Can you

distinguish which one was the other initial officer
that came?

A. The one without the hat.

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Q. Okay. Now, the one without the hat, did
you have any other dealings with him?

A. No, not that I recall.

QO. Okay. What about the one with the hat?
Do you recall having any direct dealings with an
officer with the hat?

A. Not that I recall.

Q. Okay. And then what about when you were

back at the police station the next day? Did you have
any dealings with the officer without a hat?

A. No.

Q. Okay. Obviously, we can't see the face
of the officer with the hat.

A. Correct.

Q. Would it be -- it wouldn't be fair for
you to make a judgment, correct?

A. Correct.

Q. Okay. I'm going to go ahead and play it
at 23:46:40. And, again, this is a time when you and
the other officer are by the side of the building
talking, correct?

A. Correct.

QO. Okay. I'm just going to play it for a

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little bit. Is this the point that you were telling me
that there was some commotion; Ms. Frizell was talking
and other people were talking?

A. Yes.

Q. Okay. Have you seen the owner of the

iBar come out yet?

A. No.

Q. Okay.

A. That's the lady --

QO. Okay.

A. -~- who talked to the bouncer.

QO. Okay. So at 23:47:17 a few seconds

before that there was a man and a woman talking to the
female bouncer, correct?

A. Yes.

QO. And the woman is the one who hit you in
the face?

A. Yes.

Q. And then the man is her companion as
we've called him?

A. Yes.

°. Okay. So they have now stepped outside.

It seems like she's trying to talk to the officers that

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are there; is that correct? Do you recall her talking
to them?

MR. HUNDLEY: That's been asked and answered.
BY MS. RUKAVINA:

Q. Let me know if you see the owner come
out, okay, and we'll see if we can identify him. itm
pausing at 23:49:51. It appears that one of the
officers, the one without the hat, went back into the
bar, correct, at this time?

A. Yes.

oO. And have you seen the owner of the iBar
come out yet?

A. No.

Q. Not on the video? Okay. I'm going to
pause it again at 23:49:59, and we see a second
officer, the one with the hat, go back in the bar; is
that correct?

A. Yes.

Q. Okay. So now from what we saw with the
three officers there was only one other officer with
you in the back, is that right, or did other officers
come from somewhere we did not see?

A. There were other officers still out

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A, Correct.
Q. Okay. I'm going to move that back so we
can just put that on the record. I'm sorry. We're
just going to have to -- it's a little difficult.

MR. HUNDLEY: Tell us where you're starting at
again.

MS. RUKAVINA: At 49:35, and then I'll try to
pause it the moment I see the movement in the back so
we can just get a better time frame. I'm sorry. That
was 48. If I said 49, I was mistaken.

THE WITNESS: Right there.

BY MS. RUKAVINA:
Cc. Okay. So wetre at 23:50:08, and in the

back we see you and the officer with you, correct?

A. Correct.

QO. Did you see it the first time we watched
it?

A. Yes.

Q. Okay. And this is the first where he was

walking you to the car, correct?
A. Yes.
Q. And at this point your left arm was

behind your back?

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A. Yes.
Q. Okay. And your purse was on your right
arm?
A. Yes.
Q. Okay. Did you have any problems walking
to the car?

BY

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wateh it,

MR.

MS.

HUNDLEY: Objection, vague. Go ahead.

RUKAVINA: Go ahead.

THE WITNESS:

A.

No.

MS. RUKAVINA:

Q.

the car?

A.

Q.

50:34.

You weren't resisting in any way walking
You were compliant?

Yes.

I've stopped it for the record at

Tt appears that you're up against the car;

that correct?

A.

QO.

Yes.

Okay. I will play it back and we can

but from what I saw, the car doesn't move

when you're put up against the car. I gust want you to

tell me if you agree with that statement. I'm going to

start it at 23:49:32. Would you agree with the

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statement that the car didn't move when you were put up
against the car?

MR. HUNDLEY: I just object to the foundation.
BY THE WITNESS:

A. I'm trying to wait until the entire
scene.
BY MS. RUKAVINA:

Q. Uh-huh. At this point you're up against
the car, though, right?

A. Yes.

Q. I'm just going to pause it. It seems
that at 23:50:35 is when you were released from the

yehicle, correct?

A. Yes.

QO. Did you see the car move?

A. No.

Q. Okay. I'm just going to let it run for

another little bit because it appears to me that you
stay in that area and continue talking with the police
officer; is that correct?

A. Yes.

Q. Okay. Now, he doesn't have a hold of you

at this time, does he? Has he released you?

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A. Yes.

Q. Okay. He has released you?

A. Yes.

Q. Do you recall what conversation was going
on back there?

A. No.

QO. Okay- Let me Know when you see yourself

walk out?
A. Right there.
Q. Okay. So I'm stopping it at 23:51:08.

So maybe a second or two before that is when you walked

away. Is that when you went to your vehicle?
A. Yes.
Q. Okay. Was Ms. Frizell back there

somewhere?

A. No. She was still at the end of the
building.
Q. Okay. Can we see her by any chance in

what we're looking at?

A. No, just Dixon.

Q. Just Dixon. And Dixon is the one in the
white, right?

A, Yes.

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1 MR. HONDLEY: Okay.
2 BY MS. RUKAVINA:
3 Q. I'm not sure if you -- what kind of phone
4 do you have? Can you take a screen grab of it?
5 A. An iPhone.
6 Q. Okay. If you can take a screen grab and
7 e-mail that, that would be --
8 A. Yes.
9 Q. Thank you. Also, just in general, apart
10 from the officer that had directed questions to you did

Ld any other officer on April 2nd of 2011 put his hands on

12 you?

13 A. No.

14 MS. RUKAVINA: Those are all the questions I
15 have.

16 MR. HUNDLEY: Okay. I just have a couple

i} follow-ups.
18 CROSS-EXAMINATION

19 BY MR. HUNDLEY:

20 Q. When you looked at the video just a

21 moment ago, Tanya, and you pointed out what we could

22 see on the video as far as when you were grabbed behind
23 back, as you described, correct?

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1 Q. While looking at the video just a moment
2 ago, you were asked as to whether or not you ever
3 identified the owner of the iBar. Did you ever meet
4 anyone that night who identified himself as the owner
5 of the iBar?
6 A. No.
7 Q. Okay. But there was someone that you saw

8 at some point throughout the night that appeared to

9 either be the owner or in charge; is that right?

10 A. No. Tn all of the commotion outside,

14 apparently looking at the video now, in all of that --
12 those people that came out, it had to have been one of
13 them because one of the officers said that the owner

14 said nothing happened.

15 QO. Okay.

16 A. So that's why I assumed that was the

17 owner.

18 oO. Did you see a portion of the video that
19 we looked at where there was a larger gentieman that
20 looks like maybe he was working security? He was

21 gesturing at some point. Someone who was not a police
22 officer. Do you know who I'm referring to?

23 A. Yes, I do remember the larger gentleman.

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Q. Okay. Is that someone that appeared to
you at the time that night to be an employee of the
iBar?

A. Yes.

QO. And do you recall that individual or
anyone else that may have been in security or other
employee of the iBar say anything in particular?

MS. RUKAVINA: Apart from what she testified as
to the female bouncer?

MR. HUNDLEY: Correct.

THE WITNESS: Saying to me?

MR. HUNDLEY: Anything that you overheard at
ail.

BY THE WITNESS:

A. Just they were talking to the officers
and they were -- they told the officers that the
barmaid didn't see anything and one other guy he said
~~ [T don't know what he called him. He didn't say his
name, but whatever his position was.

MR. HUNDLEY: Okay.

THE WITNESS: My barmaid said she didn't see
anything. She did not get hit. Nothing happened.

They are saying nothing happened.

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4 seen the video? Again, did you see an officer --
2 A. I'm not sure.
3 Q. -~ make that statement?
4 A. Yes.
5 Q. Okay. And you don't know which officer
6 made that statement?
7 A. No.
8 Q. Okay. And was that statement made before
9 the officer told you to show him what happened?
10 A. Yes.
11 Q. There's also some questions about whether
12 when you made contact with the officer you used any
13 force. So let me ask you this way. The contact ~- how
14 would you describe the contact that your left arm made
15 with the officer?
16 A. If he wasn't standing close to me, he
17 probably wouldn't -- I probably wouldn't have made
18 contact with him.
19 Q. How would you describe the contact? Did
20 you just mildly touch him? Did you hit him?
21 A. My intention wasn't to touch him.
22 Q. No, I understand, but I'm asking the type
23 of contact that you made with the officer -- you said
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that it wasn't forceful. I'm asking you to describe
how you would describe the contact you did make,
whether or not --

A. A touch.

QO. -- you intended to?

A. A touch with the back of my --

QO. Forearm?

A. With the back of my forearm.

Q. Okay. Now, you also testified that you

did this with your left hand but the patron used her
right, correct?
A. Yes.

Q. Why did you use your left hand if the

officer was to your left and you didn't intend to touch

him?

A. To show him what she did with her
forearm.

Q. Why didn't you use your right arm?

A. Because he was on that side of me.

Q. So if you didn't intend to touch him, why

did you use the arm that was closest to him?
A. Because that's the way I was describing

it.

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